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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        :
                                                :
        v.                                      :       Case No. 21-mj-356 (ZMF)
                                                :
VICTORIA CHARITY WHITE,                         :
                                                :
                        Defendant.              :


                                               ORDER

        Based upon the representations in the United States’ Unopposed Motion to Continue and

to Exclude Time Under the Speedy Trial Act, and upon consideration of the entire record, the

Court makes the following findings:

        Defendant is charged via complaint with offenses related to crimes that occurred at the

United States Capitol on January 6, 2021. In brief, on that date, as a Joint Session of the United

States House of Representatives and the United States Senate convened to certify the vote of the

Electoral College of the 2020 U.S. Presidential Election, members of a large crowd that had

gathered outside forced entry into the U.S. Capitol, including by breaking windows and by

assaulting members of law enforcement, as others in the crowd encouraged and assisted those acts.

Scores of individuals entered the U.S. Capitol without authority to be there. As a result, the Joint

Session and the entire official proceeding of the Congress was halted until the Capitol Police, the

Metropolitan Police Department, and other law enforcement agencies from the city and

surrounding region were able to clear the Capitol of hundreds of unlawful occupants and ensure

the safety of elected officials.   This event in its entirety is hereinafter referred to as the “Capitol

Attack.”

        The investigation and prosecution of the Capitol Attack will likely be one of the largest in
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American history, both in terms of the number of defendants prosecuted and the nature and volume

of the evidence.   Over 400 individuals have been charged in connection with the Capitol Attack.

The investigation continues and the government expects that at least one hundred additional

individuals will be charged.     While most of the cases have been brought against individual

defendants, the government is also investigating conspiratorial activity that occurred prior to and

on January 6, 2021.    The spectrum of crimes charged and under investigation in connection with

the Capitol Attack includes (but is not limited to) trespass, engaging in disruptive or violent

conduct in the Capitol or on Capitol grounds, destruction of government property, theft of

government property, assaults on federal and local police officers, firearms offenses, civil disorder,

obstruction of an official proceeding, possession and use of destructive devices, and conspiracy.

       Defendants charged and under investigation come from throughout the United States, and

a combined total of over 900 search warrants have been executed in almost all fifty states and the

District of Columbia. Multiple law enforcement agencies were involved in the response to the

Capitol Attack, which included officers and agents from U.S. Capitol Police, the District of

Columbia Metropolitan Police Department, the Federal Bureau of Investigation, the Department

of Homeland Security, the Bureau of Alcohol, Tobacco, Firearms and Explosives, the United

States Secret Service, the United States Park Police, the Virginia State Police, the Arlington

County Police Department, the Prince William County Police Department, the Maryland State

Police, the Montgomery County Police Department, the Prince George’s County Police

Department, and the New Jersey State Police.          Documents and evidence accumulated in the

Capitol Attack investigation thus far include: (a) more than 15,000 hours of surveillance and body-

worn camera footage from multiple law enforcement agencies; (b) approximately 1,600 electronic


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devices; (c) the results of hundreds of searches of electronic communication providers; (d) over

210,000 tips, of which a substantial portion include video, photo and social media; and (e) over

80,000 reports and 93,000 attachments related to law enforcement interviews of suspects and

witnesses and other investigative steps.     As the Capitol Attack investigation is still on-going, the

number of defendants charged and the volume of potentially discoverable materials will only

continue to grow.      In short, even in cases involving a single defendant, the volume of discoverable

materials is likely to be significant.

           The government, in consultation with the Federal Public Defender, is developing a

comprehensive plan for handling, tracking, processing, reviewing and producing discovery across

the Capitol Attack cases.     Under the plan, the discovery most directly and immediately related to

pending charges in cases involving detained defendants will be provided within the next thirty to

sixty days.       Cases that do not involve detained defendants will follow thereafter.          Such

productions will also be supplemented on an on-going basis. In the longer term, the plan will

include a system for storing, organizing, searching, producing and/or making available voluminous

materials such as those described above in a manner that is workable for both the government and

hundreds of defendants. This latter portion of the plan will require more time to develop and

implement, including further consultation with the Federal Public Defender.

           In this case, an ends-of-justice continuance is warranted under 18 U.S.C. § 3161(h)(7)(A)

based on the factors described in 18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv).      As described above,

the Capitol Attack is likely the most complex investigation ever prosecuted by the Department of

Justice.     Developing a system for storing and searching, producing and/or making available

voluminous materials accumulated across hundreds of investigations, and ensuring that such


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system will be workable for both the government and defense, will take time.     Even after a system

generally agreeable to the government and the Federal Public Defender is designed and

implemented, likely through the use of outside vendors, it will take time to load, process, search

and review discovery materials.    Further adding to production and review times, certain sensitive

materials may require redaction or restrictions on dissemination, and other materials may need to

be filtered for potentially privileged information before they can be reviewed by the prosecution.

        In sum, due to the number of individuals currently charged across the Capitol Attack

investigation and the nature of those charges, the on-going investigation of many other individuals,

the volume and nature of potentially discovery materials, and the reasonable time necessary for

effective preparation by all parties taking into account the exercise of due diligence, the failure to

grant such a continuance in this proceeding would be likely to make a continuation of this

proceeding impossible, or result in a miscarriage of justice.      Accordingly, the ends of justice

served by granting a request for a continuance outweigh the best interest of the public and the

defendant in a speedy trial.

        Therefore, it is this          day of June, 2021,

        ORDERED that the United States’ Unopposed Motion to Continue and to Exclude Time

Under the Speedy Trial Act, is hereby GRANTED; it is further

        ORDERED that this proceeding is continued to August 20, 2021, at                      ; and it

is further




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       ORDERED that the time period from the date of this Order through and including the

date of the next hearing is hereby excluded from the computation of time within which an

indictment must be filed under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.


                                            ___________________________________
                                            THE HONORABLE ZIA M. FARUQUI
                                            UNITED STATES MAGISTRATE JUDGE




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